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                                   FILED UNDER SEAL

                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA,                CASE NO. 15-CR-252 (PKC)

                      Plaintiff,

              v.

  HERNAN LOPEZ and
  CARLOS MARTINEZ,

                      Defendants.




     DEFENDANTS HERNAN LOPEZ AND CARLOS MARTINEZ’S NOTICE OF
   MOTION, MOTION TO COMPEL (1) PRODUCTION OF MATERIALS PURSUANT
     TO BRADY AND FED. R. CRIM. P. 16 AND (2) RESPONSES TO DISCOVERY
     REQUESTS AND MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                                 COMPEL




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                                    MEMORANDUM OF LAW

                                          INTRODUCTION

         This motion seeks three forms of relief, each of which is reasonable considering the

  government’s discovery productions to date. Mr. Lopez and Mr. Martinez respectfully request

  that the Court enter an order requiring the government to: (1) identify all Brady materials in its

  productions or affirm that it has reviewed its productions and found no Brady materials; (2)

  produce all documents it obtained from 21st Century Fox (“Fox”) and an Argentinian sports

  media company, Torneos y Competencias, S.A. (“Torneos”) or explain why those documents are

  not discoverable pursuant to Fed. R. Crim. P. 16 (“Rule 16”) and Brady v. Maryland, 373 U.S.

  83 (1963), and (3) provide specific responses to the discovery requests that Mr. Lopez and Mr.

  Martinez set forth in their letters of April 21, 2020 and April 27, 2020, respectively.

         For months, the government has responded to defense requests for Brady materials by

  merely stating that it “understands and will comply” with its Brady obligations, but there is

  considerable evidence that the government does not understand those obligations and has not

  complied with them. The government has (incorrectly) asserted that there is not a single page of

  Brady material within the 18 million pages of documents it has produced. That assertion is at

  odds with Brady, and is contradicted by documents the government has produced and favorable

  statements made to the government by a former colleague of Mr. Lopez and Mr. Martinez that

  the government recently disclosed to the defense (while adhering to its view that her statements

  were not Brady). The government has also withheld more than one hundred thousand pages that

  Fox and Torneos, two companies at the heart of this case, produced in response to its request for

  documents related to this case. The government has not explained its reasons for withholding

  these documents despite defense requests for an explanation. Torneos has admitted its central

  role in the bribery scheme at issue. Fox employed both Mr. Lopez and Mr. Martinez during the
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  relevant time period. Thus, it is plainly clear that documents the government obtained from Fox

  and Torneos are discoverable under Rule 16 and should be produced. Yet the government has

  not provided a valid reason for withholding any of those documents.

         While the government has withheld Torneos and Fox documents, it has produced

  hundreds of

                                                                                       . To be clear,

  none of these        were found on Mr. Lopez’s or Mr. Martinez’s electronic devices and they

  do not have anything to do with Mr. Lopez, Mr. Martinez, or the government’s case against

  them. The production of these          highlights the problems with the government’s continued

  refusal to produce documents in response to the defense’s requests, and it and undermines the

  government’s continued reassurance that is has reviewed the materials in its possession and

  produced documents in compliance with its obligations. Simply put, if the government had

  actually been reviewing materials in their possession pursuant to Brady and Rule 16, and/or

  applying the correct standard to their reviews, they could not, and would not, have produced such

                     materials. The defense submits that this glaring abdication of the

  government’s responsibility requires the Court to order the government to review their

  productions, using the correct standard, and identify all Brady materials therein or certify that

  there are none, as well as produce all documents obtained from Fox and Torneos, pursuant to

  both Rule 16 and Brady.

         Because of the government’s lapses and misinterpretations, the defense reasonably

  questions the government’s cursory assertions regarding compliance with its discovery

  obligations. Messrs. Lopez and Martinez are entitled to the information they request and, if the

  government disagrees, it must explain why it believes it is not obligated to produce all such


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  documents. It is reasonable for parties to disagree about the scope of the government’s discovery

  obligations and seek the Court’s intervention to resolve those disagreements. However, the

  government’s intransigent refusal to provide its reasons for withholding documents and review

  its productions for Brady materials prevents a meaningful and productive exchange before the

  Court.

           Mr. Lopez and Mr. Martinez have each requested specific categories of documents and

  information from the government, but it has continually refused to confirm that it has the

  requested information, let alone whether it will produce it. Given the government’s failure to

  recognize the extent of its obligations, it should be ordered to produce the information requested

  and provide itemized responses to those requests, the benefits of which far outweigh the burdens,

  given the resources the government has devoted to prosecuting Mr. Lopez and Mr. Martinez.

           Mr. Lopez and Mr. Martinez respectfully request that the Court order the government to

  (1) comply with its obligations under Brady by properly re-reviewing its productions and

  identifying any Brady materials therein or affirming that it has conducted such a review and

  found no Brady materials, (2) produce all documents it has obtained from Fox and Torneos or, if

  it withholds any such documents, explain why those documents are not discoverable pursuant to

  Rule 16 and Brady; and (3) identify any materials it does not intend to produce by providing

  particularized responses to Mr. Lopez’s and Mr. Martinez’s discovery requests.

                                            BACKGROUND

           Almost five years after initially indicting this case (Dkt. 1), a grand jury returned a Third

  Superseding Indictment (the “TSI”) alleging that Mr. Lopez and Mr. Martinez were aware of a

  scheme to bribe CONMEBOL officials to obtain the broadcast rights to a soccer tournament

  called the Copa Libertadores (Dkt. 1319 ⁋⁋ 72-74; 129-35). In particular, the TSI charges that


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  Mr. Lopez and Mr. Martinez conspired in this scheme involving overseas media companies,

  including Torneos, to use foreign entities to pay soccer officials in South America. (Id.) For

  instance, Counts Eighteen and Nineteen of the TSI allege wire transfers from a foreign bank

  account associated with a Dutch company called Torneos & Traffic Sports Marketing B.V. and

  another account for a Panamanian company called Valente Corp. (Id. ⁋ 133.)

         The evidence presented at the 2017 trial of three CONMEBOL officials, which included

  allegations that overlap with the scheme at issue here, focused heavily on the conduct of Torneos

  executives, including its CEO, Alejandro Burzaco. Burzaco testified at length about the means

  that Torneos executives used to further their scheme to obtain the broadcast rights to the Copa

  Libertadores. (See generally 2017 Trial Transcript 226:1-421:18; 459:1-602:13.) He testified

  that Torneos used a joint venture that it owned with Fox, T&T Sports Marketing Ltd., which

  Torneos managed and controlled, to facilitate bribes. (E.g., 2017 Trial Transcript 314:4-316:2;

  319:25-320:14; 344:8-13.) In particular, Burzaco asserted that he and Torneos used “sham”

  contracts with overseas companies, including Valente Corp, to deceptively steal T&T’s funds

  and funnel them to CONMEBOL officials. (2017 Trial Transcript 314:4-316:2; 319:25-320:14.)

  Under Torneos’s management and control, T&T Sports Marking Ltd. entered into the “sham”

  agreements prior—as early as 2003, i.e., years prior—to Mr. Lopez’s and Mr. Martinez’s

  involvement in Fox’s Latin American sports broadcasting operations. (See, e.g., Gov’t ex. 152;

  2017 Trial Transcript 314:4-316:2, 319:25-320:14.)

         According to Burzaco, an important part of the conspiracy involved the assignment of

  certain rights to Torneos & Traffic Sports Marketing B.V., which was referred to at trial as

  “T&T Netherlands.” (2017 Trial Transcript 492:2-8.) Despite its nickname at trial, testimony

  and exhibits demonstrated that Torneos and Traffic Sports Marketing, B.V., was not an affiliate


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  of T&T Sports Marketing, Ltd. (the Fox/Torneos joint venture) but was another company

  managed and/or controlled by Burzaco. (See, e.g., Gov’t Exs. 166A, 623; 2017 Trial Transcript

  685:3-14.) To date, the only evidence that has purportedly linked either Mr. Lopez or Mr.

  Martinez to the conspiracy has been Burzaco’s testimony that they understood the nature of the

  transactions involving T&T Netherlands:

         [B]y September 2014, the five persons that we were having lunch together at Milos
         restaurant in Miami Beach, knew that part of the funding for the bribe payments
         under the CONMEBOL Copa Sudamericana and Copa Libertadores contracts, was
         coming from Globo payment to T&T Netherlands, and from them, to the
         executives. So, me, Hernan Lopez, Carlos Martinez and me, nor Juan Angel
         Napout, nor [Luis] Bedoya wanted to modify that structure.

  (2017 Trial Transcript 565:22-566:4).

         Realizing the government’s case would revolve around Burzaco’s false testimony that

  they joined Torneos’s bribery scheme, Mr. Lopez and Mr. Martinez requested that the

  government turn over certain pieces of plainly exculpatory evidence, including all evidence or

  information that they did not know of Burzaco’s conspiracy or intentionally participate in it.

  (Umhofer Decl. Ex. A at 5-7; Coleman Decl. Ex. A at 7-26.) Recognizing that Burzaco’s

  testimony would likely feature prominently at their trial as well, Mr. Lopez and Mr. Martinez

  requested any information undermining or casting doubt on Burzaco’s testimony. (Id.) For

  instance, Mr. Lopez and Mr. Martinez requested any documents suggesting that Burzaco or

  anyone at Torneos concealed or misrepresented the existence or nature of any transactions

  related to the scheme. (Id.) The government responded to these initial requests by stating:

         The government confirms that it is aware of, and will comply with, its discovery
         obligations pursuant to Rule 16 of the Federal Rules of Criminal Procedure, Brady
         v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
         the Jencks Act, 18 U.S.C. § 3500. The government declines to further characterize
         its approach to discovery or to provide itemized responses to the dozens of specific




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         requests listed in your letter, some of which reference materials that are not
         discoverable under any applicable rule or statute.

  (Umhofer Decl. Ex. B.)

         Since April, the government and counsel for Mr. Lopez, and Mr. Martinez engaged in

  extensive back-and-forth correspondence regarding the government’s Brady and Rule 16

  obligations. (Umhofer Decl. Exs. B-S; Coleman Decl. Exs. B-C.) But each time the defense

  requested clarification about the government’s view of its obligations under Brady, the

  government responded in the same way: that it understands and will comply with those

  obligations. (Umhofer Decl. Exs. B, H, O.) Similarly, the government continuously declined to

  explicitly state whether it is withholding any documents it obtained from any source, including

  Fox or Torneos. (Umhofer Decl. ⁋⁋ 17, 26.) Concurrently, the government has produced about

  4.7 terabytes of material, totaling approximately 18,094,288 pages. (Umhofer Decl. ⁋ 25.)

         Finally, on August 28, 2020, the government informed counsel for Mr. Lopez and Mr.

  Martinez that it believes there are no Brady materials in the millions of pages it has produced to

  date. (Umhofer Decl. Ex. S.) However, paradoxically, the government provided a statement

  from                 , a former Fox executive and colleague of Mr. Lopez and Mr. Martinez,

  “out of an abundance of caution.” Yet the government made clear that it does not consider

         ’s statement Brady material:

         In response to a question from a government attorney as to whether Mr. Lopez had
         at any point expressed concern about his own potential criminal exposure in
         connection with the government’s FIFA investigation,                       stated, in
         relevant part, “I don’t recall him being concerned about his own exposure.”
                 further stated, “The concern was more about what’s happening with the
         business being, you know, in an investigation of such. It’s not, you know, it’s a
         very serious matter for everybody. But not that he would have done anything
         wrong, or anybody would have done anything wrong.”                    later stated of
         Mr. Martinez and Mr. Lopez, “I work[ed] with these people for, you know, ten
         years. Hernan, you know, he was my boss and he was considered a golden star in
         News Corporation. I didn’t have any reason to not believe that they, you know, they

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         make good business decisions on good businesses.” Asked whether   trusted that
         Mr. Lopez and Mr. Martinez were acting in the best business interests of their
         employer,            replied, “Yes.”

  (Umhofer Decl. Ex. S.)

         The government has also stated that it is withholding documents it has obtained from

  various entities, including Fox and Torneos, asserting that those documents are not discoverable.

  The government confirmed, for instance, that it is withholding “emails between counsel to

  schedule telephone calls,” referring to emails between counsel for the government and counsel

  for Torneos or Fox. (Umhofer Decl. Ex. X.) The defense has ascertained that the government’s

  productions are potentially missing hundreds of thousands of pages it received from Fox and

  Torneos. (Umhofer Decl. ⁋ 26.)

         While the government has withheld Fox and Torneos documents, it has produced at least



                                        . (Abadin Decl. ⁋⁋ 4-8, 11.) None of these         were

  recovered the computers, electronic devices, phone or email accounts of Mr. Lopez or Mr.

  Martinez nor reference them in any way, or bear any connection to this case. (Abadin Decl. ⁋ 9,

  12.)

                                           ARGUMENT

  A.     Brady Requires the Government to Turn Over Evidence That Undermines its Case
         Against Mr. Lopez and Mr. Martinez.

         Brady requires the government to disclose information “that is both favorable to the

  accused and material either to guilt or to punishment.” United States v. Bagley, 473 U.S. 667,

  674 (1985); United States v. Bundy, — F.3d —, 2020 WL 4517572, at *9 (9th Cir. Aug. 6, 2020)

  (“The prosecution has an affirmative obligation to learn of potentially favorable evidence and

  provide it to the defense.”).

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         Evidence is material if “there is a reasonable likelihood that disclosure of the evidence

  would have . . . put the case in such a different light as to undermine confidence in the outcome.”

  United States v. Rivas, 377 F.3d 195, 199 (2d Cir. 2004) (citing Kyles v. Whitley, 514 U.S. 419,

  434-35 (1995)). A “reasonable likelihood of a different result” that “undermine[s] confidence”

  in a verdict means only that the government’s failure to disclose any information deprived the

  defendant of a fair trial; defendants are not required to show the outcome would have been

  different had he been armed with the undisclosed evidence. Kyles v. Whitley, 514 U.S. 419 at

  434-35 (1995).

         Thus, evidence is material if it undermines an important aspect of the government’s case.

  Bundy, 2020 WL 4517572, at *16 (dismissing indictment with prejudice where “[t]he

  government said the Bundys’ claim of ‘snipers’ was ‘false’ and ‘deceitful,’” but “withheld a slate

  of information bolstering the claim that the defendants could have had a reasonable basis for

  believing there were snipers in the area”). This includes evidence reducing the effectiveness of a

  key government witness whose testimony links a defendant to a charged conspiracy. See United

  States v. Thomas, 981 F. Supp. 2d 229, 243 (S.D.N.Y. 2013) (“[T]he Government’s suppression

  of favorable evidence undermining its key witness violates due process.”). Evidence may also be

  material if it could lead to the discovery of admissible, favorable evidence. United States v.

  Mahaffy, 693 F.3d 113, 131 (2d Cir. 2012) (finding Brady violation and reversing where

  suppressed “testimony could have led the defendants to interview and possibly subpoena Geiler,

  Tiedman, and Shulman, who could have identified the other senior Merrill employees with

  whom Geiler spoke.”); see also United States v. Nejad, 18-cr-224, Dkt. 348 at *1 (S.D.N.Y. June

  5, 2020) (recognition by the United States Attorney’s Office for the Southern District that

  defendant should not be further prosecuted after determining that prosecutors failed to turn over


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  evidence that “would have pursued different investigative, litigation, and trial strategies had the

  disclosures been made.”).

          Materiality is not evaluated in a vacuum—favorable evidence must be “considered

  collectively, not item by item.” Kyles, 514 U.S. at 436. Similarly, if evidence or information has

  exculpatory and inculpatory characteristics, it must still be disclosed if it is consistent with the

  defense’s theory of the case. Rivas, 377 F.3d at 199 (finding Brady violation despite

  acknowledging that witness’s inconsistent statement with exculpatory qualities “was consistent

  with his trial testimony that the narcotics belonged to [defendant] Rivas”). Moreover, some

  courts found that materiality is not a significant hurdle (if at all) in the pre-trial context and that

  the government must turn over “any potentially exculpatory or otherwise favorable evidence

  without regard to how the withholding of such evidence might be viewed with the benefit of

  hindsight” after the trial. United States v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005); see also

  Sudikoff, 36 F. Supp. 2d at 1199-1200 (in pre-trial context, government is “obligated to disclose

  all evidence . . . which might reasonably be considered favorable to the defendant’s case,”

  including “inadmissible evidence that would [lead] to admissible evidence”); United States v.

  Carter, 313 F. Supp. 2d 921, 925 (E.D. Wis. 2004) (“[I]n the pre-trial context, the court should

  require disclosure of favorable evidence under Brady and Giglio without attempting to analyze

  its ‘materiality’ at trial”); cf. Department of Justice, Justice Manual § 9-5.001(D) (“Recognizing

  that it is sometimes difficult to assess the materiality of evidence before trial, prosecutors

  generally must take a broad view of materiality and err on the side of disclosing exculpatory and

  impeaching evidence. While ordinarily, evidence that would not be admissible at trial need not

  be disclosed, this policy encourages prosecutors to err on the side of disclosure if admissibility is

  a close question.” (citations omitted)).


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          The government has not met its obligations under Brady and, as a result, risks depriving

  Mr. Lopez and Mr. Martinez of the fair trial to which they are entitled. The government’s

  contention that there are no Brady materials in any of its productions to date is not accurate:

  there are Brady materials in its productions. For instance, the government has produced an email

  thread, dated October 2, 2014, between Torneos executives                 and                     . In

  the initial email,     informs           that Burzaco reported on a call he received from Mr.

  Lopez in which Mr. Lopez had been made aware that T&T was making some payments without

  corresponding invoices.          seems to express surprise that Mr. Lopez has been made aware of

  this issue. (Umhofer Decl. Ex T.)           then exhibits concern regarding the level of oversight

  Mr. Lopez and Fox now seem to be exercising with respect to T&T, questioning whether Fox is

  performing an audit of T&T’s administration and management or whether Fox is auditing

  Torneos itself. This document is obviously favorable: two Torneos executives—one of whom,

       , Torneos likely referred to in its deferred prosecution agreement as assisting with its

  corrupt machinations, see United States v. Torneos y Competencias, S.A., No. 16-cr-634 (PKC),

  Dkt. 4-2 at B-10 (E.D.N.Y. Dec. 13, 2016)—are concerned that Mr. Lopez and Fox are

  questioning payments that Torneos made and which Mr. Lopez and Fox clearly know nothing

  about, and asking whether such questioning is the product of increased oversight by Fox. The

  government’s contention that no Brady materials were produced is contradicted by this

  document, which demonstrates how far the government is off the mark in its interpretation of

  Brady.1




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           While reviewing the government’s productions, the defense has located other
  documents that, in its view, constitute Brady material. However, out of concern for the
  confidentiality of counsel’s work product and defense strategy, those documents have not been
  submitted here. (Umhofer Decl. ⁋ 22-23.) Should the Court prefer to review these additional
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       This same flaw was displayed by the government’s determination that                  ’s

  statements to government attorneys were not Brady material. One statement in particular is

  undoubtedly favorable—in response to a question designed to elicit an inculpatory response,

         unequivocally stated that Mr. Lopez was unconcerned about criminal exposure despite

  learning that the government was investigating conduct with which it later charged him.

         also stated that she trusted that both Mr. Lopez and Mr. Martinez were acting in the best

  interests of their employer—a statement fundamentally at odds with the fraud charges in the TSI.

  Taken alone or with other evidence,              ’s statements can be safely characterized as

  evidence that would put this case in “a different light.” Indeed, those statements will

  undoubtedly reframe or refocus allegations that Mr. Lopez and/or Mr. Martinez’s actions during

  the relevant time period were, in fact, intended to further the conspiracy.

         The government’s apparent misapplication of Brady risks depriving Mr. Lopez and Mr.

  Martinez of important information to which they are entitled which, in turn, will render their trial

  unfair in multiple ways. First, this misapplication will prohibit Mr. Lopez and Mr. Martinez

  from obtaining critical, exculpatory interview statements and grand jury testimony at trial that

  are otherwise undiscoverable under Rule 16 or any other disclosure mechanism available to

  defendants.

         Second, if the information that Mr. Lopez and Mr. Martinez have requested is withheld,

  their ability to prepare a defense will be impermissibly impaired. The massive number of

  documents that the government has produced must be harmonized and placed in context within

  the defense’s narrative. However, this process is impossible if Mr. Lopez and Mr. Martinez are




  documents, Mr. Lopez and Mr. Martinez are prepared to provide them in an in camera, ex parte
  submission.
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         Even assuming that there was a valid reason to withhold some Fox or Torneos

  documents, the government has not articulated any such reason for withholding any documents.

  The government has admitted that it is withholding correspondence with counsel for Fox and

  Torneos, all of which should be produced pursuant to Rule 16. Indeed, even scheduling emails

  are material because, at minimum, the fact and timing of those emails will contextualize

  meetings with cooperating entities, permitting the defense to draw specific inferences about the

  government’s investigation. In other words, they will provide information that will guide

  defense investigations and trial preparation, and the defense must be permitted to review that

  correspondence to determine how to best put it to use. Likewise, the defense has identified, at

  minimum, one potentially exculpatory document that the government has failed to produce in

  this case: a confidential communication between Torneos and Full Play Group, a defendant in

  this case, and others about the Copa Libertadores. That failure is evidence that the government

  has incorrectly interpreted its obligations under Rule 16.

         The government’s decision to withhold documents about correspondence with counsel

  for Fox and Torneos is also at odds with its decisions about what else to produce in this case.

  While the government has withheld documents it obtained from Fox and Torneos, including

  correspondence with their counsel, it has produced a whole slate of

                                        that have nothing to do with defendants. (Abadin Decl.)

  The government’s production of documents with such little relevance to any of the allegations in

  this case contrasts starkly with its deliberate decision to withhold documents that are material

  under Rule 16. Certainly, if the government is producing                , there is no reason that it

  should withhold its correspondence with a cooperating entity on the basis that it cannot be used

  to prepare a defense. And while the government has declined to produce certain documents in


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  this case, its decision to withhold emails (even scheduling emails) that it has exchanged with

  counsel demonstrate that its analysis about discoverability is unsound. See Stein, 488 F. Supp.

  2d at 358-59 (finding that government correspondence with cooperating entity was discoverable

  under Rule 16); cf. Sudikoff, 36 F. Supp. 2d at 1204 (ordering the government, pursuant to Brady,

  to produce “all notes or other evidence of any communication between the government and [a

  cooperating witness] or his counsel” because they could lead to admissible evidence).

          Put simply, a correct application of Brady and Rule 16 is essential to preserving Mr.

  Lopez and Mr. Martinez’s constitutional right to a fair trial. Because government attorneys

  “wield enormous prosecutorial power,” they must exercise that power “in a way that is fully

  consistent with their constitutional . . . obligations. And it is the obligation of the courts to

  ensure that they do and hold them accountable if they do not.” Nejad, Case No. 1:18-cr-00224-

  AJN (S.D.N.Y.), Dkt. 379 at 4. In Nejad, the court dismissed an indictment with prejudice after

  the government acknowledged both that it failed to disclose certain materials it possessed for

  years prior to trial and that its failure stunted the defendant’s ability to investigate and present

  defenses. Dkt. 348; Dkt. 364 at 1-2; Dkt. 379 at 3, 21-25. The Nejad Court was able to reach the

  conclusion that a key exculpatory document had been wrongfully withheld partially because it

  became privy to the government’s internal communications, which included discussion about

  burying the document when producing it to the defense. Id.

          As stated above, Mr. Lopez and Mr. Martinez are not privy to the government’s internal

  communications regarding which documents it does and does not believe are discoverable under

  Rule 16 and Brady. As a result, they cannot discern why the government somehow believes that

                                                                                         are

  discoverable under Rule 16, but information produced by Torneos and Fox is not discoverable.


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  fair. See United States v. Rodriguez, 496 F.3d 221, 226 (2d Cir. 2007) (Brady materials must be

  turned over far enough in advance of trial to provide a defendant with “a reasonable opportunity

  either to use the evidence in the trial or to use the information to obtain evidence for use in the

  trial.”).

              Mr. Lopez and Mr. Martinez simply ask for an itemized response to their requests so that

  they may effectively pursue discovery and prepare their defenses. By obtaining these responses,

  they will be able to evaluate which issues may or may not need to be brought to the Court,

  making more efficient use of the its resources and time.

                                       *      *       *      *      *




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                                           CONCLUSION

         For the foregoing reasons, Mr. Lopez and Mr. Martinez request that the Court enter an

  order requiring the government to (1) identify all Brady materials in its productions or affirm that

  it has reviewed its productions and found no Brady materials; (2) produce all documents it

  obtained from Fox and Torneos or, explain why those documents are not discoverable pursuant

  to Rule 16 and Brady, and (3) provide specific responses to the discovery requests of Mr. Lopez

  and Mr. Martinez contained in their letters of April 21, 2020 and April 27, 2020, respectively.



  Dated: September 30, 2020                     Respectfully submitted,

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